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               Exhibit E
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What is this lawsuit about? James Robinson (“Robinson”) filed this lawsuit, alleging that National Student Clearinghouse
(“NSC”) violated the federal Fair Credit Reporting Act (“FCRA”) and certain, related state laws. NSC denies all of the
allegations. The parties have agreed to a settlement.
Why did you receive this notice? You received this notice because, based on NSC’s records, you are a member of the following
class: Individuals who, from April 18, 2014 to August 9, 2019, ordered a Degree Verification or Dates of Attendance service
from NSC for the indicated purpose of “Verifying my own Record(s)” and who paid NSC more for that service than allowed at
the time by the FCRA (i.e., either $12 or $12.50).
What does the settlement provide? NSC will establish a settlement fund in the amount of approximately $1,956,000. Out of
the settlement fund, NSC will pay: (1) settlement compensation to class members; (2) an award of attorneys’ fees, costs and
expenses not to exceed $750,000, subject to the Court’s approval; and (3) a service award to Robinson up to $7,500, subject to
the Court’s approval. NSC also will pay the cost of settlement notice and administration. NSC further will limit the fee for the
self-verification service going forward to $12.50, or to another amount set in the future by amendment to the FCRA, and will
provide one self-verification to each class member, upon his or her request, at no cost. Class Counsel estimates that the amount         Front Inside
of each class member award will be approximately $_____.
What are your legal rights and options? You have three options. First, you may do nothing, in which case you will receive
a settlement award and will release any claim(s) that you have against NSC related to the disputed charges. Second, you may
exclude yourself from the settlement, in which case you will neither receive a share of the settlement fund, nor release any
claim(s) that you have against NSC. Or third, you may object to the settlement. To obtain additional information regarding the
manner in which you may exercise your legal rights and options, please visit www.robinsonsettlement.com, or contact the
settlement administrator by writing to: Robinson Settlement Administrator, c/o ____________ or by calling _____.
When is the final fairness hearing? The Court will hold a final fairness hearing on [month] [day], 2020, at [time]. The hearing
will take place in the United States District Court for the District of Massachusetts, 1 Courthouse Way, Boston, Massachusetts,
before the Honorable F. Dennis Saylor, IV. At the final fairness hearing, the Court will consider whether the settlement is fair,
reasonable and adequate and, if so, whether it should be granted final approval. The Court will also hear objections to the
settlement, if any. The Court may make a decision at that time, postpone a decision or continue the hearing.




                                                                                     Robinson v. National Student Clearinghouse
                                           This is a notice of a settlement          c/o ___
                                              of a class action lawsuit.             [address]
                                           This is not a notice of a lawsuit                                                                  Please Affix
                                                     against you.                                                                               Postage
                                                                                                                                                  Here
                                                  You are entitled to
                                           compensation as a result of the
                                            settlement in the class action                       Bar Code To Be Placed Here
                                                  lawsuit captioned:
                                                                                            Postal Service: Please do not mark Barcode
                                                  James Robinson v.
                                            National Student Clearinghouse
       Front Outside                                  (D. Mass.)
                                            Case No. 1:19-cv-10749-FDS
                                                                                                     ADDRESS SERVICE REQUESTED
                                           A federal court authorized this
                                           notice. This is not a solicitation
                                                   from a lawyer.                                                 CLAIM ID: << ID>>
                                          Please read this notice carefully.                                      <<Name>>
                                             It explains your rights and                                          <<Address>>
                                          options to participate in a class                                       <<City>>, <<State>> <<Zip>>
                                                  action settlement.
